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                  Exhibit I

           REDACTED
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 1                             UNITED STATES DISTRICT COURT
 2                         NORTHERN DISTRICT OF CALIFORNIA
 3   OYSTER OPTICS, LLC,                       CASE NO. 4:20-cv-02354-JSW
 4                Plaintiff,
 5        vs.
 6   CIENA CORPORATION,
 7                Defendant.
 8

 9                   DECLARATION OF DAN BLUMENTHAL, PH.D.

10         IN SUPPORT OF CIENA’S PRELIMINARY CLAIM CONSTRUCTIONS

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 1                 I, Dr. Dan Blumenthal, a resident of Santa Barbara, California who is over 18 years of
 2   age, hereby declare as follows.

 3   I.            INTRODUCTION
                   I have been retained as an expert in the above captioned cases by Ciena Corporation
 4
     (“Ciena”). I understand that Oyster Optics, LLC has asserted two patents in this case: U.S. Patent
 5
     Nos. 6,665,500 (the “’500 patent”) and 10,554,297 (the “’297 patent”) (collectively the
 6
     “Asserted Patents”). I understand that these patents are involved in a claim construction
 7
     proceeding.
 8
                   I have been asked to consider and opine on claim constructions for the following disputed
 9
     claim terms:
10
     ’500 Patent:
11
              •    “a phase modulator for phase modulating light from the light source” (claim 1); “phase
12
                   modulating light from a laser” (claim 17)
13
              •    phase modulate terms (dependent claims 8, 19); “phase-modulated optical signals” (claim
14
                   1); “phase modulated signals" (claim 16)
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16            •    “amplitude-modulating the light from the laser" (claim 1); “amplitude-modulated signals”

17                 (claim 16); “amplitude modulating light from the laser” (claim 17)

18            •    “a receiver having an interferometer” (claim 16)

19   ’297 Patent:

20        •       “energy level circuit” (claim 1); “energy level detector” (claim 17)

21        •       “control electronics to provide control signals, in accordance with the data stream, to the

22                laser . . .” (claim 14)

23            •    “a low pass filter coupled to an output of the photodetector” (claim 18)
                   In forming my opinions, I have considered the patent specifications, claims, and
24
     prosecution histories, various books and journals, my experience in the field of optical
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     telecommunications networks, and the inventor’s testimony. I reserve the right to consider
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     additional materials as I become aware of them and to revise my opinions accordingly.
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 1          I am being compensated for my work at my usual consulting rate of $550.00 per hour for

 2   my non-travel time spent on this proceeding. I am also being reimbursed for reasonable and

 3   customary expenses associated therewith. No part of my compensation is dependent upon the

 4   results of this litigation or the substance of my testimony.

 5   II.    EDUCATION AND EXPERIENCE
 6          Below, I have summarized my educational background, career history, publications, and
 7   other relevant qualifications. My full curriculum vitae is attached as Ex. A to this report.
 8          A.      Educational Background
 9          My education and my experience in this and related areas span 39 years of professional
10   and academic experience.
11          I am considered a pioneer in optical communications and integrated photonic and optical
12   devices and several other optical application areas including optical gyroscopes and integrated
13   atom cooling, each of which have some relationship to the subjects involved.
14          I received a B.S. degree in Electrical Engineering from the University of Rochester,
15   Rochester, New York, in 1981, a M.S. degree in Electrical Engineering from Columbia
16   University, New York, in 1988, and a Ph.D. degree in Electrical Engineering from the University
17   of Colorado, Boulder, in 1993. From 1981 till 1984, I worked as an engineer at StorageTek,
18   Louisville, Colorado, on one of the world’s first optical data storage products. From 1984 to
19   1985 I worked as a Senior Engineer at Sievers Research in the area of optical spectroscopy. From
20   1985 to 1988, I worked at Columbia University as a research engineer in the Center for
21   Telecommunications, in the area of ultra-fast optical fiber communications and optical packet
22   switching while pursuing at the same time my Masters degree in Electrical Engineering. While at
23   Columbia I built one of the world’s first optical packet switches. The Telecommunications
24   Center was one of the National Science Foundation centers of excellence that launched the
25   modern form of telecommunications networks layered communications and spawned a wide
26   range of research from multi-media communications, to packet communications, to optical
27   communications and network layered architectures. From 1988 to 1990 I worked in the
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 1   Distributed Computing Systems Laboratory at the University of Pennsylvania. During the early

 2   1990’s I worked as a graduate student researcher while pursuing my PhD in the Optoelectronic

 3   Computing Center at the University of Colorado Boulder, where I built one of the world’s first

 4   self-routing optical packet switches. From 1993 to 1997, I was Assistant Professor in the School

 5   of Electrical and Computer Engineering at the Georgia Institute of Technology in Atlanta where I

 6   built a program in optical communications and packet switching and my focus on research in

 7   optical packet switching, optical network, optical wavelength conversion using semiconductor

 8   optical amplifiers (SOAs), optical label switching, and other related technologies led to

 9   groundbreaking innovations in these areas.

10          I am currently a Full Professor in the Department of Electrical and Computer Engineering

11   at the University of California, Santa Barbara (UCSB). I also serve as the Director of the Terabit

12   Optical Ethernet Center (TOEC). My research areas are in optical communications, photonic

13   packet switching and all-optical networks, all-optical wavelength conversion and regeneration,

14   ultra-fast communications, indium phosphide Photonic Integrated Circuits (PICS) and

15   nanophotonic device technologies.

16          I have authored or co-authored over 465 journal and conference publications, hold 23

17   issued US patents, and am a co-author of a book, Tunable Laser Diodes and Related Optical

18   Sources (New York: IEEE–Wiley, 2005) as well as other book chapters. I have published invited

19   papers in the proceedings of the IEEE on the subjects of silicon nitride photonics and optical

20   packet switching and am co-author of Tunable Laser Diodes and Related Optical Sources (New

21   York: IEEE–Wiley, 2005). I have published two invited papers in the prestigious, broadly read,

22   Proceedings of the IEEE and one invited paper in the prestigious broadly read Scientific

23   American magazine. The Proceedings of the IEEE is the leading IEEE journal that provides in-

24   depth review, survey, and tutorial coverage of the technical developments across all engineering

25   areas including electronics, electrical and computer engineering, and computer science and is

26   ranked as one of the top journals by Impact Factor, Article Influence Score and serves as a

27   resource for engineers around the world. The first invited paper published in the Proceedings was

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 1   entitled “Photonic Packet Switches: Architectures and Experimental Implementations” in the

 2   1994 special issue on Optical Computing Systems and is the highest cited paper in that special

 3   issue. The second invited paper in the Proceedings is in the 2018 Special Issue on Silicon

 4   Photonics entitled “Silicon Nitride in Silicon Photonics.” In 2000, I was invited to write a

 5   seminal paper entitled “Routing Packets with Light,” that appeared in the January 2001 issue of

 6   Scientific American, a popular science magazine that has had many famous scientists contribute,

 7   and with 170 years is the oldest continuously published monthly magazine in the United States.

 8          I have served as the principle investigator for multiple large-scale research programs

 9   funded by the Defense Advanced Research Projects Agency (DARPA). At the national scale, I

10   contributed to multiple US based fiber optic Internet backbone projects. I served on the Board of

11   Directors for National LambdaRail (NLR), a nation-wide fiber backbone, from 2003-2010. I was

12   an elected Board Member for the Internet-2 Architecture & Operations Advisory Council from

13   2008-2012.

14          In addition to my industry experience at StorageTek and Sievers, I have co-founded two

15   companies, Packet Photonics, Inc. and Calient Technologies, Inc. Packet Photonics, Inc. provided

16   network and data center operators with photonic integrated wavelength tunable solutions to

17   implement, install, operate, and maintain networks. Calient Technologies, Inc. provides software

18   enabled adaptive MEMS mirror based photonic switching systems that enable dynamic optical

19   layer switching and optimization.

20          I am the recipient of the Optical Society of America (OSA) 2020 C.E.K. Mees Medal. In

21   2017 I was elected as a Fellow of the National Academy of Inventor (NAI). From the NAI

22   website: “The program has 1,060 Fellows worldwide representing more than 250 prestigious

23   universities and governmental and non-profit research institutes. Collectively, the Fellows hold

24   more than 38,000 issued U.S. patents, which have generated over 11,000 licensed technologies

25   and companies, and created more than 36 million jobs. In addition, over $1.6 trillion in revenue

26   has been generated based on NAI Fellow discoveries. With the induction of the 2018 class, there

27   are now more than 125 presidents and senior leaders of research universities and non-profit

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 1   research institutes, 502 members of the National Academies of Sciences, Engineering, and

 2   Medicine; 40 inductees of the National Inventors Hall of Fame, 57 recipients of the U.S. National

 3   Medal of Technology and Innovation and U.S. National Medal of Science, 34 Nobel Laureates, 3

 4   Queen Elizabeth Prize for Engineering recipients, 304 AAAS Fellows, 200 IEEE Fellows, and

 5   164 Fellows of the American Academy of Arts & Sciences, among other awards and distinctions.

 6          I am a Fellow of the IEEE (only 0.1% of the world-wide membership can be elected as

 7   Fellows in a given year: According to IEEE Bylaw I-305.5, “[t]he total number of Fellow

 8   recommendations in any one year must not exceed one-tenth of one percent of the IEEE voting

 9   membership on record as of 31 December of the year preceding.”) and a Fellow of the Optical

10   Society of America (OSA). I am the recipient of a 1999 Presidential Early Career Award for

11   Scientists and Engineers (PECASE) from the White House. I also received a National Science

12   Foundation Young Investigator (NYI) Award in 1994, and an Office of Naval Research Young

13   Investigator Program (YIP) Award in 1997. The Presidential White House PECASE Award

14   citation reads “For outstanding research and creative impact in multi-wavelength optical

15   techniques.”

16          I have had extensive contributions to the international scientific community in the form of

17   internationally renowned special issue journals and international conferences. I served as the

18   primary Guest Editor for the 2018 JSTQE Special Issue on “Ultra Low Loss Planar Waveguides

19   and Their Applications,” and have served as the primary Guest Editor for other special issues

20   including the 1998 IEEE Journal of Lightwave Technology special issue on “Photonic Packet

21   Switching Systems” and the 2003 IEEE Journal Of Selected Areas In Communications special

22   issue on “High-Performance Optical/Electronic Switches/Routers for High-Speed Internet.” I

23   also served as one of the Guest Editors for the 2006 JSTQE Special Issue on “Ultra-Fast

24   Integrated Photonics.” In terms of regular journal editing, I was an Associate Editor for the IEEE

25   Photonics Technology Letters and an Associate Editor for the IEEE Transactions on

26   Communications for many years. I have organized and served on committees for internationally

27   renowned conferences and topical meetings including as General Program Chair for the 2001

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 1   OSA Topical Meeting on Photonics in Switching and as Program Chair for the 1999 Meeting on

 2   Photonics in Switching. I have also served on numerous other technical program committees

 3   including the Conference on Optical Fiber Communications OFC (2018 – Present and 1997 –

 4   2000), the Conference on Lasers and Electrooptics CLEO (1999-2000), the European Conference

 5   on Optical Communications ECOC (2004-2005) and SIGCOMM 2006.

 6          In forming the opinions expressed in this Declaration, I have relied upon my education

 7   and my approximately 39 years of professional and academic experience.

 8   III.   PERSON OF ORDINARY SKILL IN THE ART
 9          I was asked to provide my opinion on the level of one of ordinary skill in the art with
10   respect to the invention of the Asserted Patents as of the early 2001s (up to and including January
11   29, 2001 for the ’500 Patent and July 9, 2001 for the ’297 Patent). I understand that the person
12   having ordinary skill in the art is a hypothetical person who is presumed to know the relevant
13   prior art. I further understand the factors that may be considered in determining the level of skill
14   include: the types of problems encountered in the art, prior art solutions to those problems;
15   rapidity with which innovations are made; sophistication of the technology; and educational level
16   of active workers in the field. I understand that not all such factors may be present in every case,
17   and one or more of them may predominate. Based on my review of the types of problems
18   encountered in the field of optical networking, prior solutions to those problems, the rapidity with
19   which innovations were made, the sophistication of the technology, and the educational level of
20   active workers in the field, I believe a person of ordinary skill in art would have had at least a
21   Masters degree in electrical engineering, or equivalent training, and approximately two years of
22   experience working in the field of optical communication. More education can supplement
23   practical experience and vice versa. Depending on the engineering background and level of
24   education of a person, it would have taken a few years for the person to become familiar with the
25   problems encountered in the art and become familiar with the prior and current solutions to those
26   problems.
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 1           All of my opinions in this declaration are from the perspective of one of ordinary skill in

 2   the art, as I have defined it here, during the relevant timeframe, i.e., the early 2001s.

 3   IV.     BACKGROUND: FIBER OPTIC COMMUNICATION SYSTEMS OVERVIEW

 4           Optical fiber has proved a cost-efficient way to modulate and receive optical signals over

 5   distances since at least the 1970s and the basic model of a fiber transmission link has remained

 6   essentially the same. The basic elements of a point-to-point fiber optic transmission link consists

 7   of an optical transmitter and receiver connected over an optical fiber and depending on the

 8   distance and link data capacity, may use optical amplification during transmission. The

 9   transmitter converts electrically modulated data to a modulated optical-carrier signal that is

10   coupled to an optical transmission fiber via a physical link interface. The electrical data can

11   externally modulate a continuous wave (cw) laser drive via an optical data modulator or direct

12   drive the laser. In both cases, interface drive electronics are used to match the data source to the

13   transmission modulation format and requirements for driving the external modulator or laser.

14   Transmitters may also contain other elements like an optical amplifier, an optical filter, an optical

15   isolator and other components based on the application requirements, data modulation type and

16   data rate.

17           After transmission over the fiber, an optical receiver is used to convert the optical data to

18   an electronic analog baseband electrical signal. This electrical signal is amplified, filtered and is

19   typically demodulated. In the case of digital transmission, the final data and clock recovery

20   circuits deliver the original electronic data with as low a bit error as required. A basic receiver

21   consists of a photodetector connected to the fiber. The photodetector converts the optical signal

22   to a representative modulated electrical current. Depending on the link design and transmission

23   modulation format, there can be an optical filter and/or an optical demodulator prior to photo

24   detection. A series of electronic amplification, filtering and signal processing stages are used to

25   convert the detected signal to an electronic voltage and maintain the signal integrity, reduce

26   distortion, and reject as much noise as possible in order to reproduce the data with as few errors

27   as specified or possible.

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 1          Optical modulation is the process by which electrical signals are converted into optical

 2   signals. See ’297 patent at 5:11-14; ’500 patent at 7:19-29. Specifically, digital data represented

 3   by electrical signals is applied to an optical modulator that modulates an optical carrier signal.

 4   See, e.g., ’297 patent at 4:46-52. The modulated optical beam may then be transmitted through

 5   an optical medium such as an optical fiber.

 6          It is desirable to monitor the status of signals being passed through an optical fiber as well

 7   as the status of the fiber and transmission and receiving equipment. “[A]n important aspect of

 8   operation and maintenance of all such optical transport networks is likely to be the provision of

 9   optical failure detectors at various parts of the network, to enable defects in the network to be

10   rapidly identified and remedial action taken appropriately.” See, e.g., U.S. Patent No. 6,178,025;

11   attached as Ex. B.

12          Optical failure detectors include components for monitoring the power level of an optical

13   signal and triggering an alarm if power level falls below a particular threshold. Id. at Abstract.

14   This allows for “an optical communications system in which defects are identified and located

15   using loss of signal detectors and in which the routing of data traffic is controlled to avoid such

16   defects.” Id. at 2:20-23. Optical monitoring can be performed at various points in a fiber optic

17   link using, for example, an OTDR. Monitoring can also be performed by to detect nefarious

18   intrusion into the system. See, e.g., U.S. Patent No. 4,435,850 at 2:30-49; attached as Ex. C.

19   Once a fault has been located or an intrusion has been detected, then the processes of protection

20   and restoration can be initiated. In modern fiber optic links, the detection of a fault will trigger

21   one or multiple types of alarms for both human and computer intervention. Id.

22          An optical transmitter modulates or alters an optical carrier signal (e.g., a continuous light

23   wave) to communicate data to a receiver. For example, a transmitter may modulate the

24   amplitude, phase, and/or frequency of the carrier signal by a change detectable by the receiver.

25   Data is commonly transmitted in digital form as binary ones and zeros. Various forms of shift

26   keying may be used to modulate light with digital data by shifting the amplitude, phase, or

27   frequency to represent a binary one or zero. As shown in the figure below, with amplitude-shift

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 1   keying (ASK), the amplitude or intensity of the carrier signal is changed between a low and high

 2   state to communicate a zero or a one. By contrast, phase-shift keying (PSK) adjusts the phase of

 3   the carrier signal between, for example, 0 and 180 degrees, to communicate a zero or a one.

 4   Frequency-shift keying (FSK) modulates the angular frequency of the carrier signal between two

 5   discrete frequencies to communicate a zero or a one. An exemplary binary data waveform and

 6   the corresponding ASK, PSK, and FSK representations are illustrated in the figure below.

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16          In the early days of optical fiber links, PSK was studied extensively for optical

17   transmission systems. However, because PSK requires precise alignment of the transmitter and
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     receiver center frequencies and the real-time optical phases in order to accurately detect
19
     transmitted data encoded using the optical absolute phase, PSK was not widely adopted at the
20
     time. Differential phase shift keying (DPSK) was initially used to overcome the difficulty in
21
     aligning the receiver with the absolute phase and other difficulties implementing PSK in a
22

23   commercial system at the time. In DPSK, a precoder is used to code incoming electrical data into

24   optical phase shifts between subsequent transmitted bits. By coding the data in subsequent
25   optical phase shifts between neighboring transmitted bits instead of absolute phase in each bit, an
26
     electronic pre-coder circuit is used to encode the incoming electronic bit stream (or streams) into
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     signals that drive an optical phase modulator connected to a cw laser. The output states of the
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 1   modulator toggle between a zero phase shift and a pi (or 180 degree) phase shift. Other designs
 2   are possible that control the laser directly instead of a modulator, but are not as reliable. This
 3
     scheme also requires that transmit laser phase is stable between neighboring data bits. At the
 4
     receiver, the phase of the received neighboring optical bits are compared, and an output logic
 5
     level generated is the recovered original data. A typical pre-coder circuit using exclusive-OR
 6

 7   (“XOR”) logic operation (or an exclusive NOR operation) is shown in the Figure below. The

 8   present data bit is compared to the prior state of the modulator (0 or 1, where 1 can represent a pi

 9   phase shift). In the case of an XOR, if the incoming data bit is different than the prior optical
10   phase setting (0 or 1), then the output is switched to a 1 and the modulator phase is set to pi. If
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     the incoming data bit is the same as the current modulator phase setting, then the XOR output will
12
     stay the same (or switch in an XNOR is used). If the incoming data bit is different than the
13
     current phase set of the modulator, then the phase will shift by 180 degrees (from 0 to pi or from
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15   pi to 0).

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24           At the receiver, the optical phase of the DPSK signal is used to recover the original
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     encoded data. One of the attractive features of this approach at the time, was that an optical
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     interferometer with a single data bit differential phase delay, and simple photodetectors, could be
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     used to directly recover the data. There were practical issues with implementing this
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                                                       10
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 1   interferometer receiver, and the gain by performing DPSK did not outweigh the complexity. A
 2   DPSK receiver uses an interferometer to compare the phase between two successively received
 3
     bits to recover the original encoded data. This is the inverse operation of the XOR (or XNOR)
 4
     coding at the transmitter. The incoming optical signal from the optical fiber is split into two paths
 5
     that form the interferometer. The interferometer is asymmetric, in which one path is longer than
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 7   the other as illustrated in the Figure below.

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     The longer path in the interferometer delays the optical signal by the same delay between
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     subsequent bits (e.g., one bit if that is the bit delay in the XOR or XNOR gate) located at the
15
     transmitter. Below is a slide from my ECE228 course that I use to explain the process for
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17   converting a DPSK signal to an intensity modulated signal that is readable by the photodetectors.

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     As shown in that slide, the optical phases of the present encoded bit and previous encoded bit are
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     combined simultaneously at the output coupler of the interferometer. When the optical phases of
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                                                      11
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 1   the present and previous encoded bits are the same, the signals combine (i.e., constructively
 2   interfere) to produce a high intensity output signal representing a logic one at the upper
 3
     photodetector (and 0 at the lower photodetector). However, when the phases of the present and
 4
     previous encoded bits are different, the signals destructively interfere at the upper interferometer
 5
     output arm, to produce a low intensity output signal representing a logic zero at the upper
 6

 7   photodetector and logic 1 at the lower photodetector. The interferometer thereby optically

 8   demodulates the received optical signal to determine the original data that was pre-coded and sent

 9   from the transmitter. DPSK eliminates the need for the receiver to track the phase of the carrier
10   signal at the transmitter in order to detect the transmitted data. The receiver can instead detect the
11
     data by using the phase difference between consecutive data bits received. DPSK therefore
12
     allowed for the receiver to not have an extra laser at the receiver used as a local oscillator and
13
     additional frequency and phase tracking circuits that are required in a PSK system. For the
14

15   modulator, the phase of the transmitted optical carrier signal (e.g., a continuous light wave) can

16   be modulated using a Mach-Zehnder (MZ) modulator. The MZ modulator modulates the cw laser

17   light by separating the light into two optical waveguides and using electrical control signals to
18
     alter the optical properties of each waveguide through which the input light propagates, then
19
     recombining these two paths into a common waveguide that is then connected to the optical fiber.
20

21   V.     OVERVIEW OF THE ’500 PATENT

22          The ’500 Patent is entitled “Dual-Mode Fiber Optic Telecommunications System and

23   Method.” The ’500 Patent’s transmitter is “for transmitting either phase-modulated or amplitude

24   modulated optical signals.” ’500 Patent at 2:27-28. The ’500 Patent’s receiver is “for receiving

25   either phase-modulated or amplitude-modulated optical signals.” Id. at 2:29-30.

26          The transmitter 10 “includes a single laser 12” and a phase modulator 16 which may be a

27   “Mach-Zehnder phase modulator.” Id. at 4:58-64. The transmitter 10 is shown in Fig. 1 below.

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     ’500 patent at Fig. 1.
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             The transmitter also includes a controller 18: “An electronic controller 18, for example a
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     PLC, controls phase modulator 16 and the amplitude of the light output of laser 12.” The
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     controller allows “a first mode controlling the phase modulator so as to create phase-modulated
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     optical signals in the light as a function of the electronic data stream and the controller in a
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     second alternate mode amplitude-modulating the light as a function of the electronic data stream.”
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     ’500 Patent at 2:36-40. This “can permit the transmitter to work with different types of
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     receivers.” Id. at 2:45-46. “An operator may set the switch of a first transmitter to the first mode,
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     the delayed second mode, or the direct second mode, so that the transmitter generally always
20
     operates in that mode.” Id. at 3:17-20.
21
             The’500 patent explains that the “invention” permits “a phase-modulated transmission
22
     mode or an amplitude-modulated transmission mode, or both a phase and amplitude modulated
23
     transmission mode, which can permit the transmitter to work with different types of receivers.”
24
     ’500 patent at 2:41-45.
25
             As detailed below, the ’500 patent describes setting these different modes using different
26
     bit values, e.g., 00, e.g., a ‘0,’ 01, e.g., a ‘1,’ 10, e.g., a ‘2,’ or 11, e.g., a ‘3’. Specifically, “[t]he
27
     bit data may be set for example to zero or one or two or three, so that the data contained in the
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                                                           13
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 1   packet is sent either via the first mode or via the direct second mode or the delayed second mode

 2   with no phase modulation or the delayed second mode with phase modulation as a function of the

 3   bit data.” ’500 patent at 3:22-27. In other words, the ’500 patent discloses four configurations of

 4   the transmitter as shown in Table 1.
      Bit Data        Configuration
 5    00 = 0          Phase modulate (green annotated figure below)
 6

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11
      01 = 1         Directly amplitude modulate (red annotated figure below)
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18
      10 = 2         Amplitude modulate with a delay, i.e., “the delayed second or amplitude
19                   modulated mode” without phase modulation (blue annotated figure below)

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 1   11 = 3         Amplitude modulate and then phase modulate, i.e., “the delayed second or
                    amplitude-modulated mode” with phase modulation (purple annotated figure
 2                  below)
 3

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 7
     Bit Data       Configuration       Switch 84              Phase Modulator     Receiver Type
 8                                      position               86 Active?          (DD, DPSK)
 9   00             Phase modulate      Right                  On                  Requires
                    (green                                                         Interferometer
10                  annotated           See discussion to      See discussion to   (DPSK):
                    figure)             the left.              the left.
11                                                                                 “The phase-
                    ’500 patent at                                                 modulated signal
12                  5:34-37 (“the                                                  must be read with
13                  amplitude                                                      an interferometer
                    controller 88                                                  having a proper
14                  directs the laser                                              delay path . . .”
                    to emit constant                                               ’500 patent at
15                  wavelength,                                                    5:45-47.
                    non-pulsed
16
                    light.”
17                  Depending on
                    the output OP
18                  of circuit 82,
                    phase
19                  modulator 16
                    then either
20
                    imparts a
21                  known initial
                    phase shift to
22                  the light which
                    could be 0
23                  degrees or else
                    imparts another
24
                    known offset
25                  phase shift
                    preferably equal
26                  to the known
                    initial phase
27                  shift—180
28                  degrees on the
                                                    15
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 1               light passing
                 through phase
 2               modulator 16.”
 3               ’500 patent at
                 5:36-41.
 4   01          Directly            Left                    Off                   Direct Detect
                 amplitude
 5               modulate            See Red annotated       “During an            For “the direct
                 (red annotated      Figure                  amplitude             amplitude-
 6               figure)                                     modulation mode,      modulated mode
 7                                                           phase modulator       only, for example,
                 “When switch                                controller 86 []      is backwards-
 8               84 receives data                            does not phase        compatible with
                 DSI from direct                             modulate the          existing receivers
 9               circuit 80, the                             light.”               in the amplitude-
                 laser amplitude                             ’500 patent at        modulated mode”
10
                 is a direct                                 5:21-25.              ’500 patent at 6:9-
11               function of the                                                   12.
                 input electronic
12               data DSI. The
                 transmitter 10
13               thus transmits
                 in the direct
14
                 amplitude-
15               modulated
                 mode.”
16               ’500 patent at
                 5:30-34
17

18   10          Amplitude           Right                   Off                   Not enabled /
                 modulate with a                                                   requires multilevel
19               delay, i.e., “the   “When switch 84         During an             receiver that can
                 delayed second      receives data from      amplitude             differentiate
20               or amplitude        circuit 82, the laser   modulation mode,      between a 0, 1, or
                 modulated           amplitude is a          phase modulator       2. But see ’500
21               mode” without       function of the         controller 86 []      patent at 5:50-62
22               phase               output OP of the        does not phase        (asserting that the
                 modulation          delayed feedback        modulate the          delayed signals
23                                   exclusive-or gate       light.”               can be read with
                 (blue annotated     118. The                ’500 patent at        either a
24               figure)             transmitter 10 thus     5:21-25.              photodiode or a
                                     transmits in a                                circuit with that
25               “[T]he delayed      delayed-feedback        “[T]he delayed        delays the signals
26               amplitude           exclusive-or            amplitude             in much the same
                 modulated           amplitude               modulated mode,       way an
27               mode, signals       modulated mode,         signals OP are sent   interferometer
                 OP are sent in a    defined herein as       in a pulsed           does)
28
                                                   16
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 1                   pulsed fashion.”   the delayed          fashion.” ’500
                     ’500 patent at     amplitude            patent at 5:50-51.
 2                   5:50-51.           modulated mode.”
 3                                      ’500 patent at
                                        5:25-30
 4    11             Amplitude          Right                On                     Not enabled
                     modulate and
 5                   then phase         See Above.           “During an
                     modulate, i.e.,                         amplitude
 6                   “the delayed                            modulation mode,
 7                   second or                               phase modulator
                     amplitude-                              controller 86 . . .
 8                   modulated                               phase modulates
                     mode” with                              based upon the
 9                   phase                                   output of the
                     modulation                              delayed feedback
10
                     (purple                                 exclusive-or circuit
11                   annotated                               82.” ’500 patent at
                     figure)                                 5:21-25
12
                                                 TABLE 1
13
            The “phase modulate” mode is described as “a first mode” that “phase modulates the light
14
     as a function of an output of a delayed feedback exclusive-or gate having the electronic data
15
     stream as an input.” Id. at 2:48-51. I have annotated Figure 1 below to show the path of the input
16
     data in the “first mode,” which is also called the “phase modulate” mode. The ’500 patent
17
     describes the signal 22 as a “phase modulated” signal. Id. at 5:41-49; 5:63-64; 7:12; 7:62-65.
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 1          The “amplitude-modulated transmission mode” and the alternative “phase and amplitude

 2   modulated transmission mode” are described as a “second mode” where “the light may be

 3   amplitude modulated either by altering the energy provided to the light source or by altering the

 4   light emitted by the light source.” Id. at 2:57-59. For instance, in the second modes, the light

 5   may be amplitude modulated in direct relation to an input data stream (known as the direct second

 6   or amplitude-modulated mode), or as a function of an output of a delayed-feedback exclusive-or

 7   gate having the electronic data stream as an input (known as the delayed second or amplitude-

 8   modulated mode).

 9          A POSITA would have understood the “direct second or amplitude-modulated mode” to

10   be simply pulsing the laser with the input data to provide an OOK or IM signal. As shown in

11   annotated Figure 1, below, “[w]hen switch 84 receives data DSI from direct circuit 80, the laser

12   amplitude is a direct function of the input electronic data DSI. The transmitter 10 thus transmits

13   in the direct amplitude-modulated mode.” Id. at 5:30-34. The resulting OOK/IM signal is shown

14   as 23 in Figure 1. Specifically, “[a]mplitude controller 88, during an amplitude-modulation

15   mode, thus amplitude modulates the laser 12 so that an amplitude-modulated signal 23,

16   representative of either the data DSI or OP, passes to fiber 20.” Id. at 5:18-20. A POSITA would

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 1   have understood that this is how the ’500 patent able to read the direct amplitude-modulated

 2   signals using a common receiver. Id. at 3:3-6.

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14             A POSITA would have understood the “delayed second or amplitude-modulated mode” to

15   mean the light is being amplitude modulated as a function of an output of a delayed-feedback

16   exclusive-or gate having the electronic data stream as an input. Id. at 2:63-3:3. As the

17   specification explains the receiver reads the “delayed amplitude-modulated optical signals

18   through the interferometer.” Id. at 3:53-54; see also id. at 3:6-11 (explaining that the delayed

19   amplitude-modulated signals are read using an Oyster receiver having an interferometer). During

20   this mode, the “phase modulator controller 86 either does not phase modulate the light,” as shown

21   in blue below, “or phase modulates based upon the output of the delayed feedback exclusive-or

22   circuit 82” as shown in purple below. ’500 patent at 5:21-25. Of course, in the mode where the

23   light is both amplitude and phase modulated, the signal is sent in a pulsed fashion like the signal

24   shown in number 23. In fact, the ’500 patent explains that in either “delayed amplitude

25   modulated mode, signals OP are sent in a pulsed fashion.” ’500 patent at 3:51-52 (emphasis

26   added).

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11
            Referring to the amplitude and phase version of the second mode, shown in purple, the
12
     ’500 patent does not explain how to recover data from an optical signal that is pulsed with the
13
     signal OP and then phase modulated with the same signal OP.
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25   Rather, the specification simply describes a receiver having an interferometer for reading either a
26   phase modulated signal or a delayed amplitude modulated signal (id. at 3:46-55; 5:44-47; 5:51-
27   6:3) and a photodetector for reading an amplitude modulated signal (id. at 3:46-55; 5:49-50; 7:40-
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                                                     20
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 1   44.). While the specification describes reading a mixed optical signal (id. at 3:61-65), the

 2   specification is referring to signal 25 in Figure 2 where the amplitude 23 and phase 23 signals are

 3   sent serially (back-to-back).

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     Signal 25 is a “mixed signal” because it serially includes the phase modulated signal 22 and then
11
     the amplitude modulated signal 23. Id. at 7:62-65. There is no disclosure of how to recover data
12
     from a signal that is simultaneously amplitude and phase modulated.
13
            To the contrary, the solely phase modulated 22 signal is converted to an amplitude
14
     modulated signal using the interferometer 40 and read using the photodiode 38 (id. at 7:13-38),
15
     the solely amplitude modulated signal 23, assuming it was created by directly modulating the
16
     laser, is read using only a photodiode 35 (not marked but adjacent the splitter 32) (id. at 7:40-44),
17
     and the solely amplitude modulated signal, assuming it is was created by using the delayed signal,
18
     is disclosed as being read using an interferometer or a simple photodiode like detector 35 (5:51-
19
     62; U.S. Patent No. 6,594,055 (referred to as 09/765,153 in the ’297 patent) at Fig. 2.)
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11          For reasons I detail below, neither a photodiode nor an interferometer would be able to

12   read the delayed amplitude modulated signal that was sent with phase modulation.

13   VI.    ’500 PATENT CLAIM TERMS
14          A.      Phase Modulator for Phase Modulating Light from the Light Source (claim 1)
                    / Phase Modulating Light from A Laser (claim 17) / Phase Modulate terms
15                  (dependent claims 8, 19) / Phase-Modulated Optical Signals (claim 1) / Phase
                    Modulated Signals (dependent claim 16) = BIT DATA EQUALS 00
16

17          A person of ordinary skill in the art (a POSITA) would have understood a “phase
18   modulator for phase modulating light from the light source,” as claimed in claim 1, and the phase
19   modulate term in dependent claim 8, to mean “a device that alters the phase of light to create an
20   optical signal having a phase that is representative of data. The phase modulator does not
21   perform amplitude modulation.” Similarly, a POSITA would have understood “phase modulating
22   light from a laser,” as claimed in claim 17, and the phase modulate term in claim 19, to mean
23   “altering the phase of light to create an optical signal having a phase that is representative of data,
24   wherein the phase modulating does not include amplitude modulating.” A POSITA also would
25   have understood “phase-modulated optical signals” and “phase modulated signals,” as claimed in
26   claims 1 and 16, respectively, to mean “optical signals having a phase that is representative of
27   data. The amplitude of the optical signals is not representative of data.”
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                                                       22
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 1          I have been informed that Ciena and Oyster agree except for the language in red. Said

 2   differently, Oyster’s proposed constructions of the phase modulate terms are broad enough to

 3   include modulating data onto the phase and amplitude of the optical signal. 1 In my opinion, a

 4   POSITA would not have considered phase modulation as described and claimed in Oyster’s ’500

 5   patent to be broad enough to encompass both (i) phase modulating as a POSITA would have

 6   understood the terms as used in the ’500 patent, i.e., DPSK without amplitude modulation, and

 7   (ii) phase modulating together with amplitude modulating. The ’500 patent does not disclose or

 8   enable phase and amplitude modulating a signal in the “first mode.” And although the ’500

 9   patent’s discloses that the “second mode” can include amplitude modulating and then phase

10   modulating before the signal is launched onto the fiber, the ’500 patent does not enable such a

11   mode as there is no disclosure of how such a signal can be read at the receiver.

12          Moreover, as I detail below, Oyster’s proposed construction is broad enough to make its

13   constructions of the phase modulate terms and the amplitude modulate terms indistinguishable.

14   See, e.g., fourth and fifth rows in Table 2 below. In my opinion, a POSITA would not have read

15   the phase modulate and amplitude modulate teams broad enough to read on the same transmission

16   mode, i.e., (i) the first or phase modulation mode (bit data is 00) and (ii) the delayed second or

17   amplitude-modulated mode ( bit data 11) should not be the same.

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27     As detailed in the next section, Oyster’s proposed constructions for the amplitude modulate
     terms are broad enough to include amplitude and phase modulation, which makes the breadth of
28   the phase and amplitude modulate terms the same.
                                                      23
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 1    BIT DATA               Claimed “first mode”       Claimed “second mode”             Claim(s)
      00                     Phase modulate             N/A                               1, 8, 16, 17, 19
 2    01                     N/A                        Amplitude modulate, i.e.,         1, 8, 16, 17
 3                                                      “the direct second or
                                                        amplitude-modulated mode.”
 4    10                     N/A                        Amplitude modulate with a         1, 8, 16, 17
                                                        delay, i.e., “the delayed
 5                                                      second or amplitude
                                                        modulated mode” without
 6
                                                        phase modulation
 7    11                     N/A                        Amplitude modulate and then       19
                                                        phase modulate, i.e., “the
 8                                                      delayed second or amplitude-
                                                        modulated mode” with phase
 9                                                      modulation (disclosed but not
10                                                      enabled)
      N/A (Oyster’s          Phase modulate and         N/A                               Not claimed or
11    construction)          amplitude modulate                                           disclosed
                             (not disclosed)
12
                                                    Table 2
13
            The’500 patent explains that the “phase-modulated transmission mode” is a first mode
14
     that “phase modulates the light as a function of an output of a delayed feedback exclusive-or gate
15
     having the electronic data stream as an input.” Id. at 2:48-51. There is no disclosure of the
16
     claimed “first mode” including both “phase” and amplitude” modulation. See generally ’500
17
     patent. The ’500 patent repeatedly discloses amplitude modulation in the context of the “second
18
     mode.” Id. at 2:56-3:34; 4:5-12; 5:1-34; 5:49-50; 7:57-61. Therefore, in my opinion the claimed
19
     “first mode controlling the phase modulator to create phase-modulated optical signals,” is
20
     referring to a mode that uses a device to alter the phase of light to create an optical signal having
21
     a phase that is representative of data and that device does not perform amplitude modulation in
22
     the first mode. A POSITA reading the ’500 patent would not understand the phase modulation
23
     relating to the first mode to also include amplitude modulation.
24
            When the bit data is 11, where the second mode includes both amplitude and phase
25
     modulating, the phase modulator is not performing amplitude modulation. Rather, as I described
26
     above, the “signals OP are sent in a pulsed fashion” by pulsing the laser 12 and providing the
27
     pulsed laser to the phase modulator 16, which then phase modulates the pulsed signal. ’500
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                                                       24
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 1   patent at 3:51-52. Moreover, as I alluded to above, a “phase” and “amplitude” modulated signal

 2   cannot be read using the disclosed receiver. The cases where an interferometer at the receiver can

 3   successfully decode transmitted bits encoded using single bit delay XOR gate, requires that

 4   neighboring received bits be encoded as 0,0 or pi,pi to represent a recovered constructive

 5   interference, or a photodetected “one” value at e.g. the upper interferometer photodetector. For

 6   the neighboring bits encoded as 0,pi or pi,0, the upper photodetector will receive destructively

 7   interfering signals, leading to a detector output in e.g. the upper arm at a logic “zero” level. The

 8   lower interferometer arm photodetector in both cases registers the complementary logic level.

 9   The XOR encoder (and similar argument for an XNOR encoder, require that the 1,1 and 0,0

10   encoded bits have opposite logic sign than 1,0 and 0,1.

11          However, when encoding amplitude using the delayed bit XOR gate, there will be three

12   cases at the output of the receiver interferometer, level 0 (0,0 received), level 1 (0,1 or 1,0

13   received) and level 2 (1,1 received). This requires that the receiver has a multilevel detection

14   circuit, which is not disclosed in the specification and would require undue experimentation by a

15   POSITA. The same is true when the bits are coded with both amplitude and phase using the

16   single bit delay XOR gate encoder. There is not energy in the zero bits that can form destructive

17   interference, also requiring multi-level receivers and having the same issues described above. In

18   any case when DPSK is employed, the laser linewidth or phase noise must be low enough, so that

19   the output optical phase is stationary (constant) over two adjacent bit intervals. Therefore, while

20   there is a disclosure of a second mode that amplitude modulates and then phase modulates the

21   signal, such a mode is not enabled. And, in the context of the claims, which require phase

22   modulating in the “first mode” there is no disclosure of phase and amplitude modulating in the

23   first mode.

24          For the phase modulation mode, e.g., bit data 00, the ’500 patent explains that the “phase

25   modulated” signals in the first mode “must be read with an interferometer having a proper delay

26   path . . . .” Id. at 5:44-47; see also Ex. D, OYST_CIEN00032883 at 913

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 2                                                                                            To a

 3   POSITA, this disclosure means that the specification is disclosing differential phase shift keying

 4   within a direct detect system. As I explained in the background of this declaration, an incoming

 5   optical signal is split into two paths that form the interferometer. See, e.g., ’500 patent at Fig. 2,

 6   6:36-39 (describing an “interferometer 40” having a splitter 34 and a coupler 36).

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            The longer path in the interferometer delays the optical signal by the same delay (e.g., one
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     bit) inserted at the transmitter. See, e.g., at ’500 patent at 6:53-7:11 (describing delay fiber 45 and
14
     matching the delay as closely as possible to the delay in the transmitter).
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21   The optical phases of the present encoded bit and previous encoded bit are combined
22   simultaneously at the output (i.e., second) coupler of the interferometer. Id. at 7:13-15. When the
23   optical phases of the present and previous encoded bits are the same, the signals combine (i.e.,
24   constructively interfere) to produce a high intensity output signal representing a logic one (at one
25   of the detectors, e.g. upper). Id. at 7:15-26. However, when the phases of the present and
26   previous encoded bits are different (i.e. 180 degrees apart in phase), the signals destructively
27   interfere to produce a low intensity output signal representing a logic zero (at the same detector,
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                                                       26
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 1   e.g. upper). Id. The interferometer thereby optically demodulates the received optical signal to

 2   determine the original data that was pre-coded and sent from the transmitter. The ’500 patent

 3   does not disclose any technique for a receiver that required an interferometer, like the ’500

 4   patent’s receiver (’500 patent at 5:44-47 (“the phase-modulated signal must be read with an

 5   interferometer”), to decode data that is simultaneously modulated onto the signal’s phase and

 6   amplitude. This is why the first mode is never described as also including amplitude modulation.

 7   See generally ’500 patent. For these reasons, and those described in the background sections, it is

 8   my opinion that a POSITA would have understood a “phase modulator for phase modulating light

 9   from the light source,” as claimed in claim 1, and the phase modulate term in dependent claim 8,

10   to mean “a device that alters the phase of light to create an optical signal having a phase that is

11   representative of data. The phase modulator does not perform amplitude modulation.” Similarly,

12   a POSITA would have understood “phase modulating light from a laser,” as claimed in claim 17,

13   and the phase modulate term in 19, to mean “altering the phase of light to create an optical signal

14   having a phase that is representative of data, wherein the phase modulating does not include

15   amplitude modulating.” A POSITA also would have understood “phase-modulated optical

16   signals” and “phase modulated signals,” as claimed in claims 1 and 16, respectively, to mean

17   “optical signals having a phase that is representative of data. The amplitude of the optical signals

18   is not representative of data.”

19          B.      Amplitude-Modulating the Light from the Laser (claim 1) / Amplitude-
                    Modulated Signals (claim 16) / Amplitude Modulating Light from the Laser
20                  (claim 17)
21
            A POSITA would have understood that the “amplitude-modulating the light from the
22
     laser” (claim 1) / “amplitude-modulated signals” (claim 16) / “amplitude modulating light from
23
     the laser” (claim 17) to mean “altering the amplitude of light to create an optical signal having an
24
     amplitude that is representative of data. The use of amplitude modulation does not include phase
25
     modulation.”
26
            I have been informed that Ciena and Oyster agree except for the language in red. Said
27
     differently, Oyster’s proposed constructions of the amplitude modulate terms are broad enough to
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                                                       27
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 1   include the amplitude and phase modulation. 2 A POSITA would not have understood the term

 2   amplitude modulates terms so broadly as those terms are used in the claims when read in light of

 3   the ’500 patent’s disclosure. Specifically, a POSITA would not have understood the amplitude

 4   modulation terms to include phase modulation.

 5          Moreover, as I detailed above and reiterate below, Oyster’s proposed construction is broad

 6   enough to make its constructions of the amplitude modulate terms and phase modulate terms

 7   indistinguishable. See, e.g., rows four and five in the Table 3 below. In my opinion, a POSITA

 8   would not have read the phase modulate and amplitude modulate teams broad enough to read on

 9   the same transmission mode, i.e., (i) the first or phase modulation mode (00) and (ii) the delayed

10   second or amplitude-modulated mode (11) should not be the same.
      BIT DATA            Claimed “first mode” Claimed “second mode”                     Claim(s)
11    00                  Phase modulate           N/A                                   1, 8, 16, 17, 19
12    01                  N/A                      Amplitude modulate, i.e.,             1, 8, 16, 17
                                                   “the direct second or
13                                                 amplitude-modulated mode.”
      10                  N/A                      Amplitude modulate with a             1, 8, 16, 17
14                                                 delay, i.e., “the delayed
                                                   second or amplitude
15
                                                   modulated mode” without
16                                                 phase modulation
      11                  N/A                      Amplitude modulate and                19
17                                                 phase modulate, i.e., “the
                                                   delayed second or amplitude-
18                                                 modulated mode” with phase
19                                                 modulation (disclosed but not
                                                   enabled)
20    N/A (Oyster’s       Phase modulate and       N/A                                   Not claimed or
      construction)       amplitude modulate                                             disclosed
21                        (not disclosed)
22                                                 Table 3
23          As I detailed above, the amplitude modulation is always performed by pulsing the laser.
24   Whether that pulsed signal is later phase modulated as is the case when the bit data is 11, it does
25   not change that the amplitude modulation does not include phase modulation as Ciena’s proposed
26
     2
27     As detailed in the previous section, Oyster’s proposed constructions for the phase modulate
     terms are broad enough to include amplitude modulation, which makes the breadth of the phase
28   and amplitude modulate terms the same.
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 1   construction describes. Indeed, a POSITA would have understood the “direct second or

 2   amplitude-modulated mode” to be simply pulsing the laser with the input data to provide an

 3   OOK/IM signal, i.e., bit data 01. As shown in annotated Figure 1 below, when the bit data is 01

 4   the “switch 84 receives data DSI from direct circuit 80, the laser amplitude is a direct function of

 5   the input electronic data DSI. The transmitter 10 thus transmits in the direct amplitude-modulated

 6   mode.” Id. at 5:30-34.

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15   The resulting OOK/IM signal is shown as 23 in the figure. Specifically, “[a]mplitude controller

16   88, during an amplitude-modulation mode, thus amplitude modulates the laser 12 so that an

17   amplitude-modulated signal 23, representative of either the data DSI or OP, passes to fiber 20.”

18   Id. at 5:17-20. A POSITA would have understood that this is how the ’500 patent is able to read

19   the direct amplitude-modulated signals using a common receiver. ’500 patent at 3:3-6. Of

20   course, directly pulsing the laser does not include phase-modulation as Ciena’s proposed

21   construction requires and as Oyster’s proposed construction leaves open.

22          A POSITA would have understood the “delayed second or amplitude-modulated mode,”

23   e.g., bit data 10 or 11, to mean the light is being amplitude modulated as a function of an output

24   of a delayed-feedback exclusive-or gate having the electronic data stream as an input. Id. at 2:63-

25   3:3. As the specification explains the receiver reads the “delayed amplitude-modulated optical

26   signals through the interferometer.” Id. at 3:53-54; see also id. at 3:6-11 (explaining that the

27   delayed amplitude-modulated signals are read using an Oyster receiver having an interferometer).

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 1   During this mode, the “phase modulator controller 86 either does not phase modulate the light,”

 2   as shown in blue below (i.e., bit data 10), “or phase modulates based upon the output of the

 3   delayed feedback exclusive-or circuit 82” as shown in purple (i.e., bit data 11). ’500 patent at

 4   5:21-25. Of course, in the mode where the light is amplitude modulated and then phase

 5   modulated (bit data 11), the signal is sent in a pulsed fashion like the signal shown in number 23.

 6   ’500 patent at 3:51-52 (“delayed amplitude modulated mode, signals OP are sent in a pulsed

 7   fashion.”).

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13          In any of these three instances, i.e., direct pulsing (red)(bit data 01), pulsing with a

14   delayed signal (blue) (bit data 10), or pulsing and then phase modulating (purple) (bit data 11),

15   the amplitude modulation is always pulsing the laser. Any phase modulation that occurs in the

16   second mode, i.e., when bit data is 11 (purple), occurs later; separate and apart from the amplitude

17   modulation performed by pulsing the laser. Said differently, the laser is pulsed first and then the

18   pulsed laser light is phase modulated. Whether or not the pulsed laser is later phase modulated

19   does not alter the fact that the amplitude modulating, which occurs first, does not include phase

20   modulating. Therefore, in my opinion, a POSITA would have understood that amplitude

21   modulate terms to mean “altering the amplitude of light to create an optical signal having an

22   amplitude that is representative of data. The use of amplitude modulation does not include phase

23   modulation.”

24          C.        A Receiver Having an Interferometer (claim 16)
25
            A person of ordinary skill in the art (a POSITA) would have understood “a receiver
26
     having an interferometer” to mean “[a] receiver having a device that splits received light into a
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 1   first wave and a second wave, delays the first wave relative to the second wave, recombines the

 2   delayed first wave and the second wave, and detects an intensity of the recombined waves.”

 3          This is a concept that I regularly teach in my ECE228B class, as shown in the excerpted

 4   slide from my course notes below. The DPSK signal (annotated in teal) is transmitted over the

 5   optical fiber (red fiber in slide 32) and is received at an interferometer (annotated black dashed

 6   box and labeled “interferometer”), which splits received light into a first wave (top leg in the slide

 7   32 (annotated in purple)) and a second wave (bottom leg in the diagram below (annotated in

 8   green)), delays the first wave relative to the second wave, recombines the delayed first wave and

 9   the second wave (annotated in orange), i.e., described as converting from phase shift keying to

10   complementary OOK signals, and detects an intensity of the recombined waves using a

11   photodetector.

12          I regularly teach my students that DPSK signals can be detected using interferometric

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25   receivers, i.e., using an interferometer as described above. When the non-delayed and delayed
26   signals are recombined, the output is an OOK signal as shown below on slide 35 of my course
27   notes as the “output” signal.
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                                                      31
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13             Beyond my course notes, a POSITA would have understood that an interferometer is a

14   device that splits received light into a first wave and a second wave, delays the first wave relative

15   to the second wave, recombines the delayed first wave and the second wave, and detects an

16   intensity of the recombined waves as confirmed by numerous other sources. For example,

17   textbooks, Oyster’s inventor testimony, Oyster’s co-founder and patent attorney’s testimony,

18   Oyster’s presentations, the ’500 patent and other patents incorporated by reference in the ’500

19   patent.

20             The Fundamentals of Photonics textbook from 1991, describes an interferometer as “an

21   optical instrument that splits a wave into two waves using a beam splitter, delays them by unequal

22   distances, redirects them using mirrors, recombines them using another (or the same) beam

23   splitter, and detects the intensity of their superposition.” Ex. E, CIENA00102419 at 436. One

24   exemplary interferometer described by the Fundamentals of Photonics textbook is called a Mach-

25   Zehnder interferometer and is shown below.

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     (Id. at 437.) As shown in the figure, the incoming light “wave U0 is split into two waves U1 and
 9
     U2. After traveling through different paths, the waves are recombined into a superposition wave
10
     U = U1 + U2 whose intensity is recorded. The waves are split and recombined using beam
11
     splitters.” (Id.)
12
             This is all consistent with Ciena’s proposed construction that an interferometer is a device
13
     that splits received light into a first wave, e.g., U2, and a second wave, e.g., U1, delays the first
14
     wave, e.g., U2, relative to the second wave, e.g., U1, recombines the delayed first wave and the
15
     second wave, e.g., U, and detects an intensity of the recombined waves.
16
             The Handbook of Optics, which is a 1994 textbook, similarly explains that
17
     “interferometric measurements require an optical arrangement in which two or more beams,
18
     derived from the same source but traveling along separate paths, are made the interfere.” Ex. F,
19
     CIENA00102414 at 417 (emphasis added). Ciena’s proposed requires splitting received light,
20
     e.g., light from the same source, into two beams that are later recombined, e.g., are made to
21
     interfere.
22

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27   3
      I emphasized “recombine” because the signal is being “recombined” with itself, not “combined”
28   with another signal from a separate source.
                                                   33
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14          In my opinion, Oyster’s presentation and the testimony of its inventor and patent attorney
15   founder are consistent with how a POSITA would have understood an interferometer, i.e., “a
16   device that splits received light into a first wave and a second wave, delays the first wave relative
17   to the second wave, recombines the delayed first wave and the second wave, and detects an
18   intensity of the recombined waves.”
19          Neither the ’500 patent nor the ’055 patent, which is incorporated by reference into the
20   ’500 patent, change how a POSITA would have understood the term “interferometer.” To the
21   contrary, these Oyster patents describe splitting the received light, e.g., incoming signal 23, into a
22   first wave, e.g., OPD, and a second wave, e.g., OP, delaying the first wave, e.g., OPD, relative to
23   the second wave, e.g., OP, recombining the delayed first wave and the second wave, e.g., the
24   recombined signal at 42, and detecting an intensity of the recombined waves, e.g., using the
25   photodetector 38.
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 1           In more detail, the ’500 patent explains that “[t]he interferometer 40 has a coupler/splitter

 2   34, functioning as a splitter, and a coupler/ splitter 36, functioning as a coupler.” ’500 patent at

 3   6:36-37. The incoming optical signals, e.g., 22 (teal), “enter interferometer 40 at an input 41 of

 4   splitter 34. Splitter 34 splits the light entering input 41, so that the signals 22 [] travel over both a

 5   first fiber 43 and a second fiber 45.” Id. at 6:53-57. This is analogous to the splitting of the

 6   incoming signal and recombining required by Ciena’s proposed construction.

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17   ’500 patent at Fig. 2 (annotated). The “[s]econd fiber 45 includes a delay fiber 46 which may

18   include a fiber loop of a desired length. Delay fiber 46 then provides an input to coupler 36

19   which recombines the delayed signal (purple) with the non-delayed signal (green) propagating

20   through fiber 43 . . . at output 42. The physical delay imposed by the interferometer 40 in the

21   second light path through fiber 45, with its delay loop 46, with respect to light passing through the

22   first light path through fiber 43.” Id. at 6:59-67. This is consistent with how a POSITA would

23   have understood the term “interferometer” and is analogous to Ciena’s proposed construction,

24   which requires delaying the first wave, e.g., OPD, relative to the second waive, e.g., OP, and then

25   recombining the delayed first wave and the second wave. Ciena’s proposed construction also

26   requires detecting an intensity of the recombined waves. This is described precisely at column 7,

27   lines 19-29.

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 1                   Output detector 38 then detects no light (orange) and a produces a
                     zero signal. If one of the data bits in the OP and OPD signals
 2                   represents a zero and the other one represents a one, at the inputs 44
                     and 47 to coupler 36, the signals (orange) will constructively
 3                   interfere when recombined at coupler output 42. This is true for
                     both phase-modulated and amplitude-modulated signals. Output
 4                   detector 38 then detects light and produces an electronic signal
                     representative of a one. When receiving phase-modulated signals
 5                   or the delayed amplitude modulated signals, detector 38 thus
                     outputs the input data stream DSI.
 6
     ’500 patent at 7:19-29.
 7
             The ’500 patent also incorporates by reference U.S. Application No. 09/765,153, which
 8
     published as U.S. Patent No. 6,594,055 (Ex. I). Id. at 5:51-6:19 (“[t]he phase-modulated signals
 9
     22 can read by the receiver disclosed in incorporated-by reference U.S. patent application Ser.
10
     No. 09/765,153, entitled “Secure Fiber Optics Telecommunications System and Method.”)
11
             The ’055 patent includes a receiver 30 that has “a coupler/splitter 31, functioning as a
12
     splitter, a light monitoring detector 32, a coupler/splitter 34, functioning as a splitter, and a
13
     coupler/ Splitter 36, functioning as a coupler. The coupler 34 and splitter 36 together define part
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     of an interferometer 40. . . .” ’055 patent at 4:55-60.
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23   ’055 patent Fig. 1 (annotated).

24           The “[o]ptical signal 22 (teal) . . . passes to receiver 30. Splitter 31 splits off a portion of

25   the light, directing part of the optical energy to the light monitoring detector 32 and passing the

26   remaining light to the interferometer 40. . . . Optical signal 22 (teal) after passing splitter 31 then

27   enters interferometer 40 at an input 41 of splitter 34. Splitter 34 splits the light entering input 41,

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 1   so that the signal OP travels over both a first fiber 43 and a second fiber 45. . . . Second fiber 45

 2   includes a delay fiber 46 which may include a fiber loop of a desired length. Delay fiber 46 then

 3   provides an input to coupler 36 which recombines the delayed signal (purple) with the non-

 4   delayed signal (green) propagating through fiber 43 . . . at output 42. The physical delay imposed

 5   by the interferometer 40 in the second light path through fiber 45, with its delay loop 46, with

 6   respect to light passing through the first light path through fiber 43 . . . is selected to match as

 7   closely as possible an electronic delay time ED imposed by electronic delay circuit 120 of the

 8   controller 18. . . . The light recombining (orange) at output 42 thus recombines the signal OP

 9   with a delayed signal OPD, delayed by an amount of time equivalent to the electronic delay time

10   ED. If the data in the OP and OPD signals each represents a zero, or each represents a one, at the

11   inputs 44 and 47 to coupler 36, the signals will destructively interfere when recombined at output

12   42 of coupler 36. Output detector 38 then detects no light and a produces a zero signal. If one of

13   the data bits in the OP and OPD signals represents a zero and the other one represents a one, at

14   the inputs 44 and 47 to coupler 36, the signals will constructively interfere when recombined at

15   coupler output 42. Output detector 38 then detects light and produces an electronic signal

16   representative of a one.” Id. at 5:7-67.

17           The Oyster’s ’500 patent, and the ’055 patent incorporated by reference, each confirm that

18   a POSITA would have understood an interferometer to be “a device that splits received light into

19   a first wave and a second wave, delays the first wave relative to the second wave, recombines the

20   delayed first wave and the second wave, and detects an intensity of the recombined waves.”

21           I am informed that Oyster has proposed that this term be construed as “a receiver having a

22   device that performs a measurement using the interference phenomena produced between one or

23   more signal beams of light and one or more reference beams of light.” This construction is too

24   broad because it encompasses an optical “hybrid” and the ’500 patent does not describe or enable

25   optical hybrids. Referring again to my course notes, an optical hybrid receives signals from two

26   sources, e.g., a signal source Es, and from a local oscillator source, e.g., ELO. The ’500 patent

27   does not disclose two light source or explain how to actually recover the data from a hybrid,

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 1   which requires extremely complete digital signal processing that simply is not described in the

 2   ’500 patent.

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     Put simply, a POSITA would not refer to a “hybrid” as an “interferometer.” These are two
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     separate concepts used by different types of systems. Oyster’s “interferometer” is what is
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     described in Oyster’s patents, as confirmed by the inventor, patent attorney, Oyster’s internal
19
     documentation, and textbooks. Oyster’s “interferometer” is not a completely different device
20
     called a “hybrid” that is used in more advanced systems.
21
            Moreover, Oyster’s construction is broad enough to include interfering N signals, where N
22
     is greater than or equal to 1 (i.e., unbounded on the upper limit), with M reference signals, where
23
     M is greater than or equal to 1 (i.e., unbounded on the upper limit). Such a broad construction
24
     arguably encompasses is known as arrayed waveguide grating routers that separate or combine
25
     wavelength division multiplexed signals. Such a construction is outside the scope of this patent
26
     and does not present an upper bound, leading to the case where one skilled in the art would have
27
     to perform undue experimentation.
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                                                     40
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 1          D.       “Laser is Directly Adjacent the Phase-Modulator” (claim 8)

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            A POSITA would have understood that claiming the laser to be “directly adjacent” the
 3
     phase modulator means that the laser is next to the phase modulator with no component in-
 4
     between. This plain language reading is confirmed by the ’500 patent, which describes that the
 5
     phase modulator 16 is “directly next to or part of the same package as laser 12.” ’500 patent at
 6
     4:61-64. Had the claim only required that the laser and phase modulator be adjacent one another
 7
     or part of the same package, a POSITA may have considered the possibility of the laser and phase
 8
     modulator being adjacent, but not directly adjacent one another. For example, the ’055 patent’s
 9
     figure 1 shows that the laser 12 and phase modulator 16 are adjacent one another with a
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     depolarizer 14 in between.
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18   ’055 patent at Fig. 1 (excerpt). But, the use of the word “directly” conveys to a POSITA that

19   there are no components between the laser and phase-modulator. Said differently, a POSITA

20   would have understood the adverb “directly” to mean that there are no components between the

21   phase modulator and laser. This understanding is confirmed by Figure 1 in the ’500 patent, which

22   shows the laser 12 and phase modulator 16 directly next to one another with no components in

23   between them.

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10   ’500 patent at Fig. 1 (annotated).
11   VII.   OVERVIEW OF THE ’297 PATENT
12          The ’297 Patent is entitled “Fiber Optic Telecommunications Card with Security
13   Detection.” The ’297 Patents is generally directed to optical networking. ’297 patent at 1:25-27,
14   2:31–39, 6:48-55. According to the ’297 Patent, existing “systems have the disadvantage that the
15   fiber can be easily tapped and are not secure.” Id. at 1:59-60. Therefore, the ’297 Patent
16   describes the invention as “providing secure optical data transmission over optical fiber” by using
17   “tapping detection capabilities.” Id. at 2:31-36.
18          The background of the ’297 Patent frames the problem to be solved as the vulnerability of
19   optical fiber to security breaches through optical taps: “Existing amplitude modulated systems
20   have the disadvantage that the fiber can be easily tapped and are not secure.” ’297 patent at 1:59-
21   60. The ’297 Patent’s Summary of the Invention states “[t]he present invention thus permits a
22   card-based transmission system incorporating an energy level detector for optical tap detection.”
23   Id. at 3:18-22. The Summary further explains that “an object of the present invention is to
24   provide a transceiver card for providing secure optical data transmission over optical fiber.
25   Another alternative or additional object of the present invention is to provide . . . tapping
26   detection capabilities.” Id. at 2:31-36.
27

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 1          The ’297 Patent solves the problem of easily tapped fibers by using a transceiver that

 2   “operates in a phase-modulated mode” because “the phase-modulated signals have the advantage

 3   that breach detection by the energy level detector work more effectively, since the amplitude of

 4   the optical signal is constant and thus a drop in the optical signal level is more easily detected.”

 5   Id. at 4:53-61.

 6          My understanding is confirmed by

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26                                                     Namely, utilizing a type of phase modulation

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 1   where the amplitude remains constant and detecting taps by identifying drops in the signals

 2   amplitude. See, e.g., ’297 patent at 4:57-61; 5:20-28 (an amplitude drop may indicate at tap).

 3          Lastly, the ’297 patent describes taking advantage of “advances in semiconductor and

 4   optical component packaging” to put the “energy level detector parts along with the optical

 5   transmitter and receiver components” all “on one card.” Id. at 3:18-26.

 6   VIII. 297 PATENT CLAIM TERMS
 7          A.         “Energy Level Circuit” (claim 1); “Energy Level Detector” (claim 17)
 8
            I have reviewed the parties’ proposed constructions and am of the opinion that Ciena’s
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     construction most accurately reflects the meaning of these terms as they would be understood by
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     a POSITA. The energy level circuit is claimed as being “configured to detect an energy level of
11
     the optical data signal.” See, e.g., ’297 patent a claim 1. The energy level detector is similarly
12
     claimed by its function–“detecting . . . an energy level of the optical data signal.” Id. at claim 17.
13
     Claims 1 and 17 each require that the energy level circuit / detector is “affixed to [a] printed
14
     circuit board.”
15
            In my opinion, the terms “energy level circuit” and “energy level detector” have no known
16
     structural meaning and there is no description in the claims of how these non-structural terms
17
     perform the claimed detection of the energy level. The claims’ broad references to “circuity” and
18
     “detector” do not inform a POSITA as to the specific structure for performing the function of
19
     detecting the energy level.
20
            While the claims do recite a “photodetector” for generating a voltage indicative of the
21
     energy level, the claims do not explain how that voltage is related to the “detection” performed by
22
     the energy level detector. To a POSITA, the energy level circuit and the energy level detector are
23
     black boxes for how to actually detect the energy level, whether or not that detection is connected
24
     to the photodetector’s voltage. Turning to the specification, however, it becomes clear that the
25
     corresponding structure for performing the detecting function is a photodetector, an amplifier, and
26
     a comparator, all on a circuit board. See, e.g., ’297 patent at 2:50-51(the “energy level detector is
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     on the card”); 3:30 (same); 3:66-67 (the “energy level circuit is also placed on the printed circuit
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 1   board”); 5:40-46 (the energy level detector’s photodetector measures the optical signal and

 2   outputs a voltage whose level correlates to the optical power); 5:51-67 (the photodetector voltage

 3   is scaled by an amplifier); 6:3-16 (the scaled photodetector voltage is compared to thresholds

 4   using a comparator that outputs a signal representing whether the energy level of the optical

 5   signal is too high, too low, or within an acceptable range); Fig. 3 (circuit 33 having photodetector

 6   153, amplifier 155, and comparator 156 and/or 157).

 7          B.      “Control Electronics to Provide Control Signals, in Accordance with the Data
                    Stream, to the Laser . . .” (claim 14)
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 9          The term “control electronics” has no known structural meaning. While a POSITA would

10   have been familiar with the general concept of a controller, the structure or algorithm for

11   providing control signals, in accordance with the data stream, to the laser, was not known. I

12   reviewed the claims and specification and find no corresponding structure, material or acts for

13   performing the function of providing control signals to the laser in accordance with the data

14   stream. The closest disclosure I found was the ’297 patent’s disclosure that the controller 18

15   “may provide power to laser 12.” ’297 patent at 2:47-50. This, however, does not explain how

16   the controller would have performed the claimed function of providing control signals to the laser

17   in accordance with the data stream. Therefore, in my opinion, the specification does not place a

18   POSITA on sufficient notice regarding what it means to provide control signals to the laser in

19   accordance with the data stream. This is because the specification provides no information as to

20   the structure or algorithm used to provide control signals to the laser in accordance with the data

21   stream. A POSITA simply cannot know what structures or algorithms for providing the control

22   signals to the laser in accordance with the data stream are claimed – and which are not claimed.

23          C.      “A Low Pass Filter Coupled to an Output of the Photodetector” (claim 18)
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            A POSITA would have understood “a low pass filter coupled to an output of the
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     photodetector” to mean “a circuit that performs low pass filtering of an output of the
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     photodetector.” Although the’297 patent explains that there is the implementations for bounding
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     the optical energy within an acceptable range other than the analog implementation shown in Fig.
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 1   3 (’297 patent at 5:24-39), a POSITA would have understood that claim 18 is referring to the

 2   analog implementation, which is a circuit that performs low pass filtering of an output of the

 3   photodetector.

 4           Specifically, the claimed receiver and energy level detector are affixed to the same circuit

 5   board. See, e.g., claim 17 (“an optical receiver affixed to a printed circuit board” and “an energy

 6   level detector affixed to the printed circuit board”). The low pass filter and photodetector are

 7   components of the energy level circuit. Id. (the photodetector generates a voltage “indicative of

 8   the energy level of the optical signal” received by the receiver on the printed circuit board); see

 9   also id. at claim 18 (“a low pass filter coupled to an output of the photodetector”). In the claimed

10   analog embodiment, the energy level detector’s (33) photodetector (153) is coupled to the low

11   pass filter (154). See, e.g., id.at Fig. 3.

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     (Id. at Fig. 3 (annotated).) The ’297 patent goes on to explain that the low pass filter 154 filters
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     the electrical signal from the photodetector. Id. at 5:46-51. The combination of the claim’s
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     requirement that the energy level detector be affixed to the circuit board, the ’297 patent’s
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     disclosure that the low pass filter is filing a signal output by a photodetector of the energy level
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     circuit, and the claim’s requirement that the low pass filter is “coupled to” an output of the
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     photodetector, would have informed a POSITA that the claimed low pass filter is “a circuit that
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     performs low pass filtering of an output of the photodetector.”
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 1          The ’297 patent further explains that the low pass filter 154 is an “analog filter.” Id. at

 2   6:38-41. This would have further informed a POSITA that the low pass filter, which is coupled to

 3   the photodetector, is a circuit that performs low pass filtering of an output of the photodetector.

 4   Notably, the ’297 patent does mention that “other digital filtering techniques could replace or

 5   supplement the filtering provided by [the low pass] analog filter.” Id. (emphasis added). A

 6   POSITA would have understood this disclosure to mean that filtering techniques, other than low

 7   pass filtering, were possible. But that does not change claim 18’s requirement to “low pass filter”

 8   or that the specification only discloses techniques for performing low pass filtering with an

 9   analog circuit. Moreover, I understand that claim 18 is required to narrow claim 17, from which

10   it depends. With this understanding and the ’297 patent’s disclosure of low pass filtering with an

11   analog low pass filter circuit, a POSITA would have realized that claim 18’s requirement to

12   “couple” the low pass filter to an output of the photodetector, is referring to the analog

13   implementation and not any other technique, i.e., a technique other than low pass filtering, that

14   could be performed digitally. Accordingly, in my opinion, POSITA would have understood “a

15   low pass filter coupled to an output of the photodetector” to mean “a circuit that performs low

16   pass filtering of an output of the photodetector.”

17          I declare under penalty of perjury that the foregoing is true and correct.

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     Dated: January 15, 2021                        By: /s/
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                                                       Dr. Daniel Blumenthal
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